Case 2:18-bk-20028          Doc 78    Filed 02/13/18 Entered 02/13/18 17:23:49         Desc Main
                                      Document     Page 1 of 2


                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

In re:                                                 )   Chapter 11
                                                       )
Daily Gazette Company,                                 )   Case No. 18-20028
                                                       )
                         Debtor.                       )


                             LIST OF EQUITY SECURITY HOLDERS

       Following is the list of the Debtor’s equity security holders which is prepared in
accordance with Fed. R. Bank. P. 1007(a)(3) for filing in this Chapter 11 case.

Name and Last Known Address or
       Place of Business                                   Number of    Percentage
          of Holder                   Security Class        Shares      Ownership    Type of Interest

Elizabeth E. Chilton                                       23,232.213     53.23%        Shareholder
806 Cedar Road
Charleston, WV 25314

Susan Chilton Shumate                                        1,410.33      3.23%        Shareholder
1 Scott Road
Charleston, WV 25314

Irrev. Trust Norman W. Shumate, IV                           1,761.47      4.04%        Shareholder
c/o Susan Chilton Shumate
1 Scott Road
Charleston, WV 25314

Irrev. Trust Caroline Grace Shumate                          1,761.47      4.04%        Shareholder
c/o Susan Chilton Shumate
1 Scott Road
Charleston, WV 25314

Irrev. Trust William E. C. Shumate                           1,761.47      4.04%        Shareholder
c/o Susan Chilton Shumate
1 Scott Road
Charleston, WV 25314

Phillip T. Smith                                             4,377.63     10.03%        Shareholder
12 Norwood Road
Charleston, WV 25314

Patricia S. Nelson                                           2,566.19      5.88%        Shareholder
7816 CocoBay Court
Naples, FL 34108




138561515.1
Case 2:18-bk-20028          Doc 78   Filed 02/13/18 Entered 02/13/18 17:23:49            Desc Main
                                     Document     Page 2 of 2


Name and Last Known Address or
       Place of Business                                Number of      Percentage
          of Holder                  Security Class      Shares        Ownership       Type of Interest

Leslie Anne Abbot                                         2,093.30         4.80%         Shareholder
2437 Cypress Springs Road
Orange Park, FL 32073

Park Vassar Chapman                                       1,729.24         3.96%         Shareholder
1535 Eden Isle Blvd., NE, Apt. 367
St. Petersburg, FL 33704

Karen Elizabeth Abbot                                       190.34          .44%         Shareholder
485 S. 3rd Avenue
Tucson, AZ 85701

Alice Catallini                                             190.34          .44%         Shareholder
485 S. 3rd Avenue
Tucson, AZ 85701

The Theodocia Smith Marital Trust                         2,034.61         4.66%         Shareholder
1308 Jaden Lane
Fort Worth, TX 76116

The Theodocia K. Smith Investment                           531.58         1.22%         Shareholder
Trust
1308 Jaden Lane
Fort Worth, TX 76116

Elizabeth Valentine                                           3.00        .0069%         Shareholder
P.O. Box 2255
Windsor, CA 95492


       I declare, under penalty of perjury, that the foregoing is true and correct to the best of my
information and belief.

Dated: February 13, 2018                               Daily Gazette Company

                                                       /s/ Norman W. Shumate III
                                                       Norman W. Shumate III
                                                       Its: Authorized Signatory




                                                 -2-
138561515.1
